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               CONTAINS INFORMATION MARKED AS AEO/CONFIDENTIAL
                  UNDER THE DISCOVERY CONFIDENTIALITY ORDER

                                                October 23, 2024

 Via Email and ECF

 Honorable Freda L. Wolfson, U.S.D.J.
 Lowenstein Sandler LLP
 One Lowenstein Drive
 Roseland, NJ 07068

               Re:      JJHCS’s Motion to Compel Additional SaveOnSP Custodians
                        Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC, et al.,
                        Civil Action No. 2:22-cv-02632 (JKS) (CLW)

 Dear Judge Wolfson:

        On behalf of JJHCS, we write in further support of JJHCS’s motion to compel SaveOnSP to

 designate four of its current and former employees as custodians: Leslie Kauffman, Brandon Bartz,

 Paula Mighells, and Jenna Quinn.

        There is a fundamental difference in the parties’ approach to custodians. SaveOnSP has

 sought to add an additional 25 custodians from around the J&J family of companies, because its goal

 is to mire this case in discovery and multiply litigation costs for JJHCS. JJHCS seeks to add only

 four carefully selected custodians from SaveOnSP because those individuals have relevant and unique

 evidence that must be produced before this case moves expeditiously to depositions. Nothing in

 SaveOnSP’s opposition submission changes this analysis.
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        SaveOnSP’s opposition largely concedes the relevance of the individuals JJHCS seeks to

 compel, and never once argues that adding them would be unduly burdensome. SaveOnSP advances

 only one basis for denying the motion: that JJHCS has purportedly not shown they “are likely to have

 unique documents.” Opp. at 2. That claim ignores the highly particularized showing JJHCS has

 made as to each employee’s job function, time at the company, and relevant communications. As

 just one example, JJHCS seeks the addition of Leslie Kauffman because of her unique role at the

 company, and because SaveOnSP’s early years—during which time it did not consistently preserve

 documents—are poorly covered by SaveOnSP’s existing custodians at Kauffman’s level. Mot. at 5–

 6. SaveOnSP’s brief simply does not address these and many other points from JJHCS’s opening

 brief. Even where SaveOnSP did respond to JJHCS’s arguments, those responses elide the gaps

 JJHCS has identified or otherwise mischaracterize the evidentiary record.

        With no sound basis to resist the production of these employees’ files, SaveOnSP is left to

 grumble that it has already produced many other documents. Opp. at 1–2. That is beside the point.

 SaveOnSP’s productions have been large for two main reasons: (1) there is a lot of relevant evidence

 in SaveOnSP’s files relating to the misconduct alleged in JJHCS’s complaint—SaveOnSP is the entity

 that ran the scheme at issue, whereas JJHCS knew little about it; and (2) SaveOnSP repeatedly

 demanded a longer window of custodial discovery, which increased the volume. Regardless, the

 discovery standard does not ask whether SaveOnSP feels it has produced enough, but rather whether

 JJHCS’s motion seeks discovery that is proportional to the needs of the case. It does. JJHCS’s motion

 is eminently proportional given (1) the gaps JJHCS has identified in SaveOnSP’s productions to date,

 (2) the importance of the issues discussed in these four employees’ documents, and (3) the absence

 of any particularized burden objection by SaveOnSP.
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                I.      Leslie Kauffman

        Kauffman fills critical gaps in SaveOnSP’s productions for two principal reasons: (1) she

 began as a “PSR” in 2017, before almost all of SaveOnSP’s existing custodians; and (2) she later held

 the unique role of “                               ,” tracking CarePath’s terms and conditions to

 facilitate SaveOnSP’s wrongful evasion efforts. Mot. at 3–4. SaveOnSP largely concedes the first

 point; its brief gestures to other custodians but admits that only one of those custodians worked at

 SaveOnSP in 2017. See Opp. at 3; SaveOnSP Ex. 1. Of course, Kauffman’s documents from

 SaveOnSP’s early years cannot be “duplicative” of custodians who did not work there at the time.

 Nor is there coverage from her direct supervisor (Armand Peoples, not a custodian) or the next person

 in her reporting line (Gary Meyn, not a custodian, and whose files SaveOnSP did not preserve). And

 even in the unlikely event there are truly duplicative documents in Kauffman’s files, those can be

 “de-duplicated” by SaveOnSP’s discovery vendor, with no burden to SaveOnSP.

        On the second point, SaveOnSP tries to minimize Kauffman’s “                                ”

 role as a “short” and “small” project. Opp. at 5–6. It was neither. SaveOnSP’s own exhibit shows

 that Kauffman was the only person in this role for at least two years. SaveOnSP Ex. 3. And her task

 was not “small”—

                            and which it used to shape its many evasive and deceptive tactics. See,

 e.g., Ex. 15 (SOSP_1034492) (“

                                                                                           ”); Ex. 13

 (SOSP_0776401) (

                                                              ); Ex. 14 (SOSP_0748852) at -748852

 (
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           ). SaveOnSP employees

                                          See Ex. 64 (SOSP_2087171) at .0004 (



      ); id. at .0004, .0006 (

                                                        ”). She is therefore the only source for this

 critical cache of directly relevant evidence, and SaveOnSP should be compelled to produce her files.

                II.     Brandon Bartz

        Just as with Kauffman, SaveOnSP concedes Bartz’s relevance but claims his documents

 would be duplicative of existing PSR custodians and the “training, policies, or patient complaints”

 SaveOnSP already produced. Opp. at 6. And again, SaveOnSP’s generalized arguments overlook

 key facts. First, Bartz was a PSR supervisor for years—and critically, none of the PSRs who reported

 to him are existing custodians. See SaveOnSP Ex. 3. This matters because Bartz’s communications

 with those PSRs are highly relevant to JJHCS’s allegations concerning SaveOnSP’s misconduct. See,

 e.g., Ex. 65 (SOSP_2044948) at .0004 (



                                          ”).

        Second, while SaveOnSP stresses that it has produced “nearly 250 talk tracks” (emphasis by

 SaveOnSP), it totally elides JJHCS’s point. Opp. at 6. Those talk tracks are carefully worded and

 sanitized corporate communications; Bartz’s emails about those talk tracks and other policies contain

 candid admissions revealing the wrongful intent behind them. See Mot. at 8–9. SaveOnSP also

 argues that Bartz and the other disputed employees need not be added because “

                                                               (among others). Opp. at 5. Yet Ms.
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 Zulqarnain claimed under oath that

                                             . See Ex. 66 (Zulqarnain Dep. Tr.) at 44:22–23 (“

                                                         ), 49:22–25 (“

                                                                             .”). Either SaveOnSP’s

 representation is false or Ms. Zulqarnain’s testimony was. Either way, the inconsistency illustrates

 JJHCS’s need for additional discovery from Bartz about these materials.

         Finally, SaveOnSP suggests that Bartz’s candid and colorful remarks about SaveOnSP were

 “mostly about irrelevant topics.” Opp. at 6. That is wishful thinking. Indeed,



                        Ex. 36 (SOSP_0768975) at .0001 (“

                              ). He also remarked, for example, that

                                                                           Ex. 32 (SOSP_1991209) at

 .0004                                                               ”).



                                                 Id. at .0002. SaveOnSP’s opposition brief omits all

 mention of this patient harm evidence.

                III.   Paula Mighells

         Paula Mighells regularly called out the harm caused to patients by the SaveOnSP program—

 including egregious                                             See Mot. at 11–12. SaveOnSP does

 not appear to dispute that it fired Mighells after she raised concerns about a new non-disclosure

 agreement that SaveOnSP was pressuring her to sign. Compare id. at 12, with Opp. at 8 (SaveOnSP

 conceding that it terminated Mighells).
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        Instead, SaveOnSP argues that Mighells’s documents would be duplicative of those produced

 from other PSRs. Opp. at 7. This is mistaken for several reasons. First, it ignores Mighells’s role as

 a Quality Assurance Auditor, as to which she overlaps with only one current custodian. See id. at 3.

 Second, SaveOnSP references productions it made from group Teams chats, but to be clear, those

 productions do not include one-on-one Teams conversations Mighells had on relevant topics,

 including quality assurance, trainings, and declined enrollments.1 This is a critical distinction because

 SaveOnSP employees tend to make damaging admissions about the SaveOnSP scheme only in private

 messages, not in group settings. See, e.g., Ex. 34 (SOSP_1991001) at .0003 (

                                                                                               ”); Ex. 71

 (SOSP_1459847) at .0016 (

                                                                                                       ”).

 Mighells, in particular,                                                 through individual emails and

 messages.    See Ex. 44 (SOSP_0716137) (

                                                                 ”); Ex. 51 (SOSP_1019413)

                                                                                                       ).




 1
   Even SaveOnSP’s reference to its production of group messages is misleading. SaveOnSP says it
 “already produced more than 218,000 Teams messages that Mighells sent or received.” Opp. at 7
 (emphasis in original). The number is so high only because SaveOnSP initially and improperly
 produced Teams conversations broken up into individual, stand-alone messages. See Ex. 67 (May
 20, 2024 Ltr. from J. Long to E. Snow). This was akin to producing every sentence in a long email
 chain as a separate document, leading to a grossly inflated document “count.” For the same reason,
 many of the individual “messages” SaveOnSP is counting are patently irrelevant. See Ex. 68
 (SOSP_1358735–SOSP_1358738) (
                                                                                        ); Ex. 69
 (SOSP_1358953–SOSP_1358956) (
            ); Ex. 70 (SOSP_1360077) (                                     ”).
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        SaveOnSP also protests that Mighells’s files would not have evidence relevant to her

 termination. Opp. at 8. That is unconvincing given the context: SaveOn fired Mighells after she was

 particularly vocal and candid about the harm that SaveOnSP caused patients. See, e.g., Ex. 42

 (SOSP_0683762) (

                                ); Ex. 43 (SOSP_1405368) at .0001

     ); Ex. 45 (SOSP_2117807) at .0022

                                         ”). Her communications bear on SaveOnSP’s reasons for

 terminating her—and, of course, are important evidence of patient harm, which is independently

 relevant to JJHCS’s GBL claim.

               IV.     Jenna Quinn

        SaveOnSP argues that Quinn, as a member of the Billing Department, “is not likely to have

 unique documents on” manufacturer evasion. Opp. at 9. To the contrary,

                                                                                ” (SOSP_2383103)

 (                     ) at 5:00–5:50; see, e.g., Ex. 72 (SOSP_1843192) at .0012–.0013 (



                ); (SOSP_2383010) at 7:55–8:10 (

                              ); (SOSP_2343642) at 9:49–10:05 (



                       ); (SOSP_2383098) at 3:51 (
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                                                       ).2

        Further, Quinn is not duplicative because SaveOnSP has only two other custodians from the

 Billing Department—and she played a unique role in that group relating to evasion of manufacturer

 terms and conditions. Indeed, there is no other SaveOnSP custodian who has served as a Billing

 Services Supervisor, see SaveOnSP Ex. 3, or who supervised and trained Billing Department

 employees, see Ex. 73 (SOSP_2255570) at .0001 (

                                                                                                       ).

 SaveOnSP does not dispute (or even mention) this point in its opposition.

        To be clear, Quinn is an important SaveOnSP employee who worked on a variety of relevant

 issues, and JJHCS would have been within its rights to seek her designation as a full custodian. See,

 e.g., Ex. 74 (SOSP_0472221) at -225 (

                                                                                              ”); Ex. 75

 (SOSP_0771046) (

                                                ). Nevertheless, JJHCS is mindful of the principles of

 proportionality and therefore seeks to compel her addition only as a “limited” custodian to fill the gap

 in SaveOnSP’s production relating to manufacturer evasion efforts in its Billing Department.




 2
   As noted in our Opening Brief, JJHCS cites to audio recordings of phone calls and training sessions
 called “Huddles,” but due to the format and file sizes of these audio files, JJHCS not has not included
 them as exhibits. Mot. at 4 n.2. If Your Honor wishes to review the native audio files, JJHCS will
 be happy to provide them through an FTP transfer or to arrange for transcriptions.
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                                          *      *       *

        For the foregoing reasons, Your Honor should compel SaveOnSP to (1) designate Leslie

 Kauffman, Brandon Bartz, and Paula Mighells as full custodians, requiring SaveOnSP to run all

 agreed-upon search terms for the relevant time period; and (2) designate Jenna Quinn as a custodian

 and apply the parties’ previously agreed-upon search terms specific to SaveOnSP’s efforts to evade

 detection by manufacturers. We appreciate Your Honor’s consideration of this matter.

                                                     Respectfully submitted,


                                                      /s/ Jeffrey J. Greenbaum
                                                     Jeffrey J. Greenbaum

 cc: All counsel of record
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            MOTION TO COMPEL
          ADDITIONAL CUSTODIANS

              REPLY EXHIBITS 64-66

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                                                                                                        www.pbwt.com




May 20, 2024                                                                           Julia Long
                                                                                       (212) 336-2878


By Email

Elizabeth Snow, Esq.
Selendy Gay PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      SaveOnSP’s Production of Microsoft Teams Messages
                           Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                           Case No. 2:22-cv-02632 (JKS) (CLW)

Dear Elizabeth:

                  We write to address SaveOnSP’s May 10, 2024 document production.

               SaveOnSP’s PROD035 contains more than 794,000 documents, the majority of
which consist of individual, stand-alone Teams messages. Rather than presenting complete same-
day exchanges in a single document, SaveOnSP has produced each individual message separately,
thereby substantially hampering JJHCS’s ability to review Teams messages in a coherent way. It
will also complicate JJHCS’s ability to use these messages in depositions and at trial, as it will
require JJHCS to show witnesses multiple documents in order to establish the relevant context of
the Teams message at issue.

              In addition, based on our discovery vendor’s assessment, the metadata associated
with SaveOnSP’s PROD035 does not allow JJHCS to thread the documents into same-day
conversations between the same sender and recipients.1 Thus, even if JJHCS could thread these
messages together in a forensically sound manner consistent with evidentiary rules, SaveOnSP did
not produce the necessary information for JJHCS to do so.

            To obviate the issues in SaveOnSP’s production, we ask that SaveOnSP produce
Teams messages as single-day transcripts, as JJHCS has done. As you know, JJHCS produced


1
 For example, the metadata contains inconsistent timestamp metadata and image times, see, e.g.,
SOSP_1522532, SOSP_2172311; duplicative messages with different recipients, see, e.g.,
SOSP_1384644, SOSP_1384645, SOSP_1384646, SOSP_1384647; and missing attachments,
see, e.g., SOSP_1989350, SOSP_1989351.



Patterson Belknap Webb & Tyler LLP   1133 Avenue of the Americas, New York, NY 10036   T 212.336.2000   F 212.336.2222
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Elizabeth Snow, Esq.
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Teams messages in the form of transcripts, which reflect the complete same-day exchange for any
responsive Teams message in a single document.

              Please confirm by May 24 that you will reproduce Teams messages as transcripts.

                                                      Very truly yours,


                                                      /s/ Julia Long
                                                      Julia Long
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            MOTION TO COMPEL
          ADDITIONAL CUSTODIANS

              REPLY EXHIBITS 71-75

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